                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

JASON KESSLER AND NATIONAL
SOCIALIST MOVEMENT AND
TRADITIONALIST WORKER'S PARTY,

     Plaintiff,

v.                                                  Case No. 3:18-cv-00107-NKM

CITY OF CHARLOTTESVILLE, VIRGINIA
AND AL THOMAS AND BECKY
CRANNIS-CURL,

     Defendants.

                                 APPEARANCE OF COUNSEL


To:      The Clerk of Court and all parties of record:

         I am admitted to practice in this Court, and I appear in this case as counsel for Al

Thomas.

                                                         AL THOMAS

                                                         By Counsel




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                                     CERTIFICATE

        I hereby certify that on the 11th day of January, 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
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